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                                   STATEMENT OF FACTS

        I, William Slattery, am a Special Agent with the Federal Bureau of Investigation and have
served in that capacity since 2014. In my duties as a Special Agent, I have experience with
investigations and legal process involving threats to federal officials and matters of national
security. By virtue of my employment with the FBI, I am authorized to conduct investigations into
violations of U.S. law. I am an investigative or law enforcement officer of the United States within
the meaning of Section 2510(7) of Title 18 United States Code. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of violations of Federal criminal laws.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice



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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                  Conduct of Anthony Vuksanaj

       On June 6, 2021, ANTHONY VUKSANAJ of Mahopac, New York and two other
individuals were arrested and charged with first degree robbery in connection with an alleged
knife-point robbery that occurred that day. In connection with that arrest, officers seized a mobile
device from VUKSANAJ’s person (the “VUKSANAJ Phone”) at the Westchester County Police
Department during VUKSANAJ’s booking procedures. The VUKSANAJ Phone was on
VUKSANAJ’s person at the time of the arrest. The booking report for VUKSANAJ lists his phone
number as xxx-xxx-9488 (“x9488”). 1

        On the day of the arrest, Detectives from the Westchester County Police Department
interviewed VUKSANAJ about his alleged involvement in the robbery. He denied involvement.

        According to records obtained through a search warrant served on AT&T, on January 6,
2021, in and around the time of the events at the Capitol described above, the cell phone associated
with x9488 was identified as having used a cell site consistent with providing service to a
geographic area that included the grounds and the interior of the United States Capitol building.

         Additional AT&T records identified the subscriber of the cellphone associated with x9488
as VUKSANAJ, at an address in Mahopac, NY. 2 According to the records, VUKSANAJ has used
this telephone number since March of 2005.

        Following the events of January 6, 2021, the FBI received a tip containing a video believed
to capture rioters inside the U.S. Capitol building on January 6, 2021. Exhibits A1 and A2, below,
are two screenshots of the video provided with the tip. One of the detectives who interviewed
VUKSANAJ as part of the New York robbery investigation (“Detective 1”) identified the
individual circled in Exhibits 1A and 1B as VUKSANAJ.




1
  The full phone number is known to the affiant but omitted here due to the public nature of this
filing.
2
  The full street address is known to the affiant but omitted here due to the public nature of this
filing
                                                  2
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                          Exhibit 1A




                          Exhibit 1B




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        Open source video filmed by film maker/journalist Nickolas Quested (who was producing
a documentary for the National Geographic Channel) from inside the Capitol building on January
6, 2021, captured additional video footage of individuals inside the Capitol during the events
described above. Exhibit 2 contains a screenshot of footage from one such video. Based on a
comparison of the video provided from the tip described above wherein Detective 1 was able to
identify VUKSANAJ, the booking photograph of VUKSANAJ taken in connection with his New
York arrest, and the open source video, I believe that the individual circled in Exhibit 2 who is
holding a cell phone is VUKSANAJ.

                                           EXHIBIT 2




        Closed circuit television (CCTV) from inside the Capitol building (Senate Wing Door,
North Side) on January 6, 2021, captured additional video footage of individuals inside the Capitol.
Exhibit 3 contains a screenshot of footage from one such video at approximately 2:20 PM. Based
on a comparison of the video provided from the tip described above, the booking photograph of
VUKSANAJ taken in connection with his arrest, and the CCTV video, I believe that the individual
circled in Exhibit 3 who is holding a cell phone is VUKSANAJ.




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                                           EXHIBIT 3




       Additional CCTV from inside the Capitol building on January 6, 2021 captured additional
video footage of individuals inside the Capitol that day. Exhibit 4 contains a screenshot of footage
from one such video at approximately 2:27 PM (19:27:05 UTC). Based on a comparison of the
video provided from the tip described above, the booking photograph of VUKSANAJ taken in
connection with his arrest, and the CCTV video, I believe that the individual circled in Exhibit 4
who is holding a cell phone is VUKSANAJ.




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                                           EXHIBIT 4




                                             Charges

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Anthony Vuksanaj violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.




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        Your affiant submits there is also probable cause to believe that Anthony Vuksanaj violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     _________________________________
                                                     William Slattery
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1.
.
                                                                          Digitally signed by G. Michael
                                                                          Harvey
                                                                          Date: 2021.09.28 09:34:20 -04'00'

                                                     ___________________________________
                                                     HON. G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE




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